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                    UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                         MARSHALL DIVISION

NETLIST, INC.,                   )
                                 )
            Plaintiff,           )
                                 )     Case No. 2:22-cv-293-JRG (Lead Case)
     vs.                         )
                                 )     JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD, ET )
AL.,                             )
                                 )
             Defendants.         )
                                 )
                                 )
NETLIST, INC.,                   )
                                 )
            Plaintiff,           )
                                 )     Case No. 2:22-cv-294-JRG (Member Case)
     vs.                         )
                                 )     JURY TRIAL DEMANDED
MICRON TECHNOLOGY, INC.; MICRON )
SEMICONDUCTOR PRODUCTS, INC.; )
MICRON TECHNOLOGY TEXAS LLC, )
                                 )
             Defendants.         )
                                 )

   DECLARATION OF MICHAEL R. RUECKHEIM IN SUPPORT OF MICRON
DEFENDANTS’ OPPOSITION TO PLAINTIFF NETLIST INC.’S MOTION TO STRIKE
 CERTAIN OPINIONS OF MICRON DEFENDANTS’ EXPERT DR. HAROLD STONE
Case 2:22-cv-00293-JRG         Document 500-1 Filed 02/07/24          Page 2 of 3 PageID #:
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       1.     I am an attorney at the law firm of Winston & Strawn LLP, counsel of record for

Defendants Micron Technology, Inc., Micron Semiconductor Products, Inc., and Micron

Technology Texas LLC (collectively, “Micron”) in the above captioned matter. I am a member in

good standing of the State Bar of Texas. I provide this declaration in support of Micron

Defendants’ Opposition to Plaintiff Netlist Inc.’s motion to strike certain opinions of Micron

Defendants’ expert Dr. Harold Stone.

       2.     A true and correct copy of excerpts from Netlist’s Responses to Micron’s

Interrogatories dated November 13, 2023 is attached as Exhibit A.

       3.     A true and correct copy of excerpts from the Opening Expert Report of Dr. William

Henry Mangione-Smith is attached as Exhibit B.

       4.     A true and correct copy of an agreement between counsel from both Micron and

Netlist to cross-reference produced documents is attached as Exhibit C.

       5.     A true and correct copy of excerpts from the deposition of Peter Gillingham is

attached as Exhibit D.

       6.     A true and correct copy of the Inter Partes Re-examination certificate for U.S.

Patent No. 7,619,912 is attached as Exhibit E.

       7.     A true and correct copy of excerpts from the Rebuttal Expert Report of Peter

Gillingham is attached as Exhibit F.

       8.     A true and correct copy of Appendix A-1 of the Opening Expert Report of Dr.

Harold Stone is attached as Exhibit G.

       9.     A true and correct copy of Appendix A-2 of the Opening Expert Report of Dr.

Harold Stone is attached as Exhibit H.
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       10.    A true and correct copy of Appendix C-1 of the Opening Expert Report of Dr.

Harold Stone is attached as Exhibit I.

       11.    A true and correct copy of Appendix C-2 of the Opening Expert Report of Dr.

Harold Stone is attached as Exhibit J.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge.

       Executed on January 30, 2024, in Redwood City, California.



                                                           By: /s/ Michael R. Rueckheim
                                                                   Michael R. Rueckheim




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